Ms. Stephanie Winston Department of Finance and Administration Internal Audit Section 1515 West 7th Street Little Rock, Arkansas 72201
Dear Ms. Winston:
I am writing in response to your request, made pursuant to A.C.A. § 25-19-105(c)(3)(B), for an opinion on whether the decision of the Department of Finance  Administration's Office of Personnel Management ("DF  A-OPM"), to release an electronic copy of the Arkansas Administrative Statewide Information System employee database, with certain information redacted, is consistent with the provisions of the Arkansas Freedom of Information Act ("FOIA"), codified at A.C.A. §§;25-19-101 to-109 (Repl. 2002 and Supp. 2005), as amended by Acts 268 and 998 of 2007. Specifically, a member of the press requested ". . . an electronic copy of the Arkansas Administrative Statewide Information System [AASIS] employee database (in either excel spreadsheet or access database) and related documentation containing definitions of date elements in the file." The request includes "all electronic fields, including but not limited to Employee name (Last name, first name and middle initial), job title, date of hire/start date, current salary (base, extra and total salary), Pay Basis (HRY, ANN, AJT etc.), birthday, agency name, agency code, agency address/city, home address, work address, office phone, and email."
The records custodian has decided to release some of the requested items of information and to withhold other items of information. See Op. Att'y Gen. 2007-070. My statutory duty under A.C.A. § 25-19-105
(c)(3)(B)(i) is to state whether the decision of the custodian is consistent with the provisions of the FOIA.
RESPONSE
I recently addressed the custodian's decision in this regard in Op. Att'y Gen. 2007-070. I have enclosed a copy of that Opinion for your review. It addresses the same issues that are the subject of your request.
Sincerely,
DUSTIN McDANIEL
Attorney General